Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 1 of 30 PageID 3853




                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


 CHIANNE D., et al.,

       Plaintiffs,
                                               Case No. 3:23-cv-00985-MMH-LLL
 v.

 JASON WEIDA, in his official capacity
 as Secretary for the Florida Agency for
 Health Care Administration, and
 SHEVAUN HARRIS, in her official
 capacity as Secretary for the Florida
 Department of Children and Families,

     Defendants.
 ___________________________________/


                         DEFENDANTS’ TRIAL BRIEF

 I.    Introduction

       Plaintiffs’ claims present two questions:

       1. Whether, under due process, the State provides notice reasonably
          calculated under all the circumstances to apprise Medicaid recipi-
          ents of the termination of their coverage and to afford them an op-
          portunity to object; and

       2. Whether, under federal regulations, the State’s Medicaid termina-
          tion notices provide recipients with a “clear statement of the spe-
          cific reasons supporting the intended action,” 42 C.F.R.
          § 431.210(b), and inform them of their “right to a fair hearing” and
          “the method by which [they] may obtain a hearing,” id.
          § 431.206(b).

 The answer to both questions is “yes.”
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 2 of 30 PageID 3854




       The State’s Medicaid termination notices—which DCF uses to communicate

 with millions of Floridians—comply with the requirements of due process and the

 Medicaid Act. Neither due process nor federal Medicaid regulations require termi-

 nation notices to recite the individualized facts (such as the amount of income the

 State calculated or the income standard the State applied) that Plaintiffs contend a

 notice must contain. Nor does due process require notices to summarize the sub-

 stance of laws that the public is presumed to know. The notices invite recipients

 who seek more information to call or visit DCF and enable recipients to challenge

 DCF’s decisions. The fair-hearing language in the State’s notices has always ad-

 vised recipients of their hearing rights, and recent revisions to that language offer

 even more information. The trial in this case will therefore show that the answer to

 the two questions that Plaintiffs’ claims ask is “yes,” and that Defendants are there-

 fore entitled to judgment in their favor on both counts of the Amended Complaint.

       It is also important to recall what this case is not about. The merits question

 in this case is not whether DCF correctly determined any person’s eligibility. That

 is what fair hearings are designed to address. The question is not whether the chal-

 lenged notices are ideally written, whether a particular Plaintiff’s notice was lost in

 the mail, or whether the notices comply with plain-language guidelines, which are

 addressed in a separate regulation that Plaintiffs do not invoke here. See 42 C.F.R.

 § 435.917(a)(1). This case does not concern notices other than termination notices

 (such as denial notices) or terminations from programs other than Medicaid. See

 ECF No. 122 at 40 n.13. Instead, the question is simply whether the minimum legal


                                           2
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 3 of 30 PageID 3855




 thresholds that Plaintiffs sued to enforce require the State’s Medicaid termination

 notices to include specific items of information that they do not currently include.

       Finally, even if this Court ultimately finds classwide liability at trial, crafting

 an appropriate and permissible injunction poses additional, complex questions for

 this Court’s resolution. This question of equitable remedies requires consideration

 of many practical and legal factors, such as the standing of absent class members;

 federalism principles; and the cost, burdens, and feasibility of the requested relief.

 II.   Legal Framework

       Count I of the Amended Complaint pleads a due-process claim. Due process

 requires notice that is “reasonably calculated, under all the circumstances, to ap-

 prise interested parties of the pendency of the action and afford them an oppor-

 tunity to present their objections.” Mullane v. Cent. Hanover Bank & Tr. Co., 339

 U.S. 306, 314 (1950). “Due process is a flexible concept that varies with the particu-

 lar circumstances of each case, and myriad forms of notice may satisfy the Mullane

 standard.” Arrington v. Helms, 438 F.3d 1336, 1350 (11th Cir. 2006). A notice,

 therefore, need not be “ideal”—only “reasonable under all the circumstances.” Id.

       Count II pleads a violation of the Medicaid Act. Specifically, Plaintiffs allege

 noncompliance with two CMS regulations promulgated under the Medicaid Act:

 42 C.F.R. §§ 431.206 and 431.210.

       The Medicaid Act requires each State’s Medicaid State Plan to “provide for

 granting an opportunity for a fair hearing before the State agency to any individual

 whose claim . . . is denied.” 42 U.S.C. § 1396a(a)(3). CMS regulations provide that,


                                            3
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 4 of 30 PageID 3856




 when a State finds a recipient ineligible and terminates coverage, it must inform

 the recipient “in writing” of “his or her right to a fair hearing” and “the method by

 which he may obtain a hearing.” 42 C.F.R. § 431.206(b)(1)–(2). The State’s notice

 must include, inter alia, a “statement of what action the agency . . . intends to take”

 and a “clear statement of the specific reasons supporting the intended action.” Id.

 § 431.210(a)–(b).

        Neither due process nor the Medicaid Act requires States to include in their

 Medicaid termination notices the following information referenced in the Court’s

 class-certification order (ECF No. 122 at 70):

        1. The applicable income limit;
        2. The income amount on which DCF relied;
        3. The household size;
        4. The recipient’s eligibility category before termination;
        5. The eligibility criteria for that category;
        6. The eligibility categories that DCF evaluated; and
        7. A description of all eligibility categories.

 III.   DCF’s Notices Comply With Due Process.

        When DCF terminates a recipient’s Medicaid coverage, it does so in a man-

 ner that complies with the minimum requirements of due process: by providing a

 written notice advising that Medicaid coverage is ending, identifying a reason why,

 and apprising the recipient of his or her fair-hearing rights. Plaintiffs cannot carry

 their burden to prove that the State failed to provide notice reasonably calculated

 under all the circumstances to advise them of the State’s action and afford them an

 opportunity to pursue an appeal. Defendants should therefore prevail on Count I.




                                           4
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 5 of 30 PageID 3857




       Here, Defendants comfortably satisfy the due-process standard because the

 State’s Medicaid termination notices contain enough information to put recipients

 on notice of the intended action and of the means to obtain more information, and

 allow recipients enough time to challenge that action. Due process does not require

 disclosure of case-specific particulars or the rules of program administration. Nor

 does it require disclosure of information that is contained in statutes, rules, and

 regulations, because the public is charged with knowledge of the law. Standardized

 language satisfies due process. And due process is lenient when a State provides

 multiple avenues to access information, such as a phone number, a website, and

 office locations. Arrington, 438 F.3d at 1351–52. DCF’s notices easily satisfy the

 due-process standard.

       a.     Standardized notices satisfy due process.

       First, Plaintiffs’ position that due process requires notices to set forth case-

 specific, individualized facts is incorrect. Standard language satisfies due process.

 Jordan v. Benefits Review Bd. of U.S. Dep’t of Labor, 876 F.2d 1455, 1459 (11th

 Cir. 1989) (approving a standardized notice of denial that checked a box indicating

 which eligibility criterion a claimant failed to meet and referred claimants to an

 enclosed guide for general eligibility information); Adams v. Harris, 643 F.2d 995,

 997 (4th Cir. 1981) (approving notices of denial that used “stock paragraphs which

 provide standardized reasons for denial” and rejecting argument that due process

 or Social Security Act regulations required individualized facts); Garrett v. Puett,

 707 F.2d 930, 931 (6th Cir. 1983) (holding that form notices advising individuals of


                                           5
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 6 of 30 PageID 3858




 a reduction or termination of benefits were sufficient and rejecting the argument

 that the notices violated due process “because they did not include the mathemati-

 cal calculations used . . . in arriving at the amount” of available benefits); LeBeau v.

 Spirito, 703 F.2d 639, 641, 643 (1st Cir. 1983) (denying preliminary injunctive re-

 lief in a challenge to notices the court described as “cursory in language and nearly

 identical”); Gaines v. Hadi, No. 06-60129-CIV, 2006 WL 6035742, at *14 (S.D.

 Fla. Jan. 30, 2006) (noting that Jordan found “stock paragraphs” sufficient and

 that Adams approved notices that “made no mention of the particular individual’s

 facts and circumstances”).1 Due process simply does not require the degree of case-

 specific details that Plaintiffs insist be included in the State’s termination notices.

       In Hames v. City of Miami, 479 F. Supp. 2d 1276, 1289 (S.D. Fla. 2007), a

 retired city employee, claimed the city failed to provide notice of the “specific facts”

 that supported the forfeiture of his pension benefits. The court concluded that “due

 process does not require notice of ‘specific facts,’ much less a Bill of Particulars,”

 but was satisfied because the plaintiff “was apprised of the nature of the proceed-

 ings and was in fact on enough notice to make arguments that none of the six pro-

 visions under the forfeiture statute applied to his felony conviction.” Id. Similarly,

 the notices here provide more than enough information to inform recipients of the

       1 Plaintiffs have argued that some of these cases concerned across-the-board

 changes in the law and that due-process standards are relaxed in that context. But
 the cases themselves did not rely on that distinction—which the Eleventh Circuit
 has never endorsed. Nor is the argument persuasive. If Congress reduced income
 limits by 20 percent across the board, Plaintiffs certainly would agree that notices
 need not include the amount of income that DCF used to find a recipient ineligible
 under the new income standard—nor is it evident why a different rule would apply.


                                            6
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 7 of 30 PageID 3859




 nature of the proceeding and to allow recipients to present their claim of eligibility.

       b.     The reasonableness of notice is evaluated in totality.

       Second, the adequacy of notice must be evaluated in totality, and not on the

 basis of one reason code or even the four corners of a single document. ECF No.

 122 at 60. Plaintiffs’ focus on reason codes or even a single notice cannot support a

 due-process claim.

       To satisfy due process, “notice must be ‘reasonably calculated, under all the

 circumstances, to apprise interested parties of the pendency of the action and af-

 ford them an opportunity to present their objections.’” Jordan, 876 F.2d at 1459

 (quoting Mullane, 339 U.S. at 314). Thus, in Rosen v. Goetz, 410 F.3d 919, 931 (6th

 Cir. 2005), the court evaluated Medicaid termination notices for compliance with

 due process and with 42 C.F.R. § 431.210. It rejected the plaintiffs’ argument that a

 single notice must fulfill all requirements; rather, the relevant consideration was

 the totality of information provided. 410 F. 3d at 931 (“Due process does not re-

 quire ‘reasonably calculated’ notice to come in just one letter, as opposed to two.”).

       In Arrington, the Eleventh Circuit confirmed that “myriad forms of notice”

 can satisfy due process and rejected a challenge that focused solely on the contents

 of a notice regarding child-support payments. 438 F.3d at 1349–51. In evaluating

 the notice, the court reviewed all sources of information available to the plaintiffs:

 the notice; court orders; a check stub advising parents of a hotline and webpage;

 the opportunity to speak with a child support worker; and the options to call, fax,

 write, email, or visit an office to obtain more information. Id. at 1350–51. Together


                                            7
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 8 of 30 PageID 3860




 with the notice, the court held that these sources provided parents with “ample in-

 formation with which to determine whether they have received their full child sup-

 port payments in a timely manner” and were “reasonably calculated to inform par-

 ents” of the State’s action. Id.; accord Duffy v. Bates, No. 1:15-cv-00037, 2015 WL

 1346196 (N.D. Fla. Mar. 24, 2015) (finding no due-process violation where notice

 did not advise plaintiff why she was barred from Veterans Administration property

 but provided a phone number at which the plaintiff could obtain that information).

       An objective standard determines whether notice is reasonable. In Jordan,

 the Eleventh Circuit made clear that the “question is not whether a particular indi-

 vidual failed to understand the notice but whether the notice is reasonably calcu-

 lated to apprise intended recipients, as a whole, of their rights.” 876 F.2d at 1459

 (emphasis supplied); accord Arrington, 438 F.3d at 1352 (“[T]he sophistication of

 the affected individuals and the health and safety implications of the deprivation,

 standing alone, are not sufficient to impose an affirmative notice obligation on

 government officials.” (quoting City of West Covina v. Perkins, 525 U.S. 234, 240

 (1999)) (cleaned up)); Coleman v. Dir., OWCP, 345 F.3d 861, 865 (11th Cir. 2003)

 (quoting Jordan’s recital of the objective Mullane standard). Plaintiffs’ confusion

 or inability to understand their notices is not relevant under an objective standard.

       The trial in this case will show that DCF’s communications with a Medicaid

 recipient are not limited to a single notice or reason code and that the frequency

 and substance of communications surrounding termination of Medicaid benefits

 differs widely from person to person. Indeed, the frequency and substance of the


                                          8
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 9 of 30 PageID 3861




 oral and written communications between DCF and Plaintiffs (and class member

 Lily Mezquita) varied significantly. For example, some had numerous phone calls

 with DCF, while others did not; some requested fair hearings, while others did not.

       In addition to each recipient’s personalized interactions with DCF, DCF will

 show that substantial publicly available information exists online to apprise indi-

 viduals of relevant rights and responsibilities, and to guide individuals to resources

 and assistance. The notice and process available to Medicaid recipients here are no

 less robust than those the Eleventh Circuit approved in Arrington.

       c.     Class members have a burden to inquire and inform them-
              selves, and actual knowledge defeats a due process claim.

       The law assumes that recipients will diligently seek information and charges

 them with knowledge of the facts that diligent inquiry would develop. The “entire

 structure of our democratic government rests on the premise that the individual

 citizen is capable of informing himself about the particular policies that affect his

 destiny.” Atkins v. Parker, 472 U.S. 115, 131 (1985). DCF’s notices are more than

 sufficient to “prompt an appropriate inquiry if . . . not fully understood” and thus

 comply with due process. Id.

       Plaintiffs and other class members have an obligation to inform themselves

 using the information that DCF makes available, and no due-process claim can lie

 when diligence is not exercised. The Supreme Court has recognized that publicly

 available information can apprise individuals of their rights, City of West Covina v.

 Perkins, 525 U.S. 234, 240–42 (1999), and the Eleventh Circuit has charged indi-




                                           9
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 10 of 30 PageID 3862




  vidual recipients with a burden of inquiry, Jordan, 876 F.2d at 1460 (finding that a

  plaintiff “who asserts a special problem of comprehension must take the next step

  to inquire,” and refusing to reopen a claim for benefits on due-process grounds

  when the plaintiff “made no effort to inquire or otherwise make known his difficul-

  ty”). Jordan in turn cited Soberal-Perez v. Heckler, 717 F.2d 36, 43 (2d Cir. 1983),

  which held that “placing a burden of diligence and further inquiry on the part of a

  non-English-speaking individual served in this country with a notice in English

  does not violate any principle of due process.” Similarly, in In re Alton, 837 F.2d

  457, 460–61 (11th Cir. 1988), the court found no due-process violation where the

  creditor, though notified of a bankruptcy proceeding, was not notified of the dead-

  line to file a complaint to prevent the discharge of a debt. The court explained that,

  if the plaintiff “had made a minimal effort . . . , he would have realized the outside

  dates for the filing of his complaint.” Id. at 461. The plaintiff “made no such effort

  and cannot now properly complain of the consequences of his inaction.” Id.; see

  also In re Le Ctr. on Fourth, LLC, No. 19-cv-62199, 2020 WL 12604348, at *3

  (S.D. Fla. June 30, 2020), aff’d, 17 F.4th 1326 (11th Cir. 2021) (“Once served, the

  creditor is the one under a duty to inquire; no due process violation exists where

  the creditor could have protected himself and failed to do so.” (emphasis omitted)).

        Accordingly, “notice of facts which would incite a person of reasonable pru-

  dence to an inquiry under similar circumstances is notice of all the facts which a

  reasonably diligent inquiry would develop.” Soberal-Perez, 717 F.2d at 43 (quoting

  Commonwealth v. Olivo, 337 N.E.2d 904, 909 (Mass. 1975)) (internal marks omit-


                                           10
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 11 of 30 PageID 3863




  ted).

          On the other side of the coin, an individual’s actual knowledge of his or her

  rights also defeats any due-process claim, which precludes relief for Plaintiffs and

  other class members who understood why their Medicaid coverage was terminated

  and knew that a fair hearing was available. See Jordan, 876 F.2d at 1460 (noting

  recipient’s actual knowledge of, and participation in, administrative procedures for

  seeking benefits, and finding no due-process violation). Thus, when an individual

  has actual knowledge of his or her right to a fair hearing, no due-process claim can

  lie. Oneida Indian Nation of N.Y. v. Madison County, 665 F.3d 408, 436 (2d Cir.

  2011) (“Process is not an end in itself, and due process is not offended by requiring

  a person with actual, timely knowledge of an event that may affect [the person’s]

  right to exercise due diligence and take necessary steps to preserve that right.” (in-

  ternal marks and citations omitted)); see also Moreau v. FERC, 982 F.2d 556, 569

  (D.C. Cir. 1993) (“[T]he Due Process Clause does not require notice where those

  claiming an entitlement to notice already knew the matters of which they might be

  notified.”); EEOC v. Pan Am. World Airways, Inc., 897 F.2d 1499, 1508 (9th Cir.

  1990) (“Actual knowledge of the pendency of an action removes any due process

  concerns about notice of the litigation.”); Kalme v. W. Va. Bd. of Regents, 539 F.2d

  1346, 1349 (4th Cir. 1976) (“Although the letter did not inform Kalme of his right

  to demand a hearing, this oversight was not prejudicial, for he already knew of this

  right and immediately exercised it.”).

          The challenged notices provided class members with enough information to


                                            11
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 12 of 30 PageID 3864




  protect their rights, and their questions could be answered through reasonably dil-

  igent inquiry. Indeed, some class members took immediate advantage of this avail-

  able information. Chianne D.’s inquiries to DCF resulted in her learning the precise

  income amount that DCF used to determine that she and C.D. were ineligible for

  Medicaid. DCF’s call center advised Lily Mezquita that she was determined to be

  ineligible for Medicaid because of income, told her the income limits DCF applied,

  and provided the exact amount of income that DCF used to determine her eligibil-

  ity. Ms. Mezquita did not, however, read her notice (including its fair-hearing lan-

  guage) before her deposition in this case, and both Kimber Taylor and A.V.’s moth-

  er made little effort to contact DCF despite actual knowledge of the various ways to

  do so.

           The evidence will show that many thousands of individuals have requested

  fair hearings related to Medicaid ineligibility since April 2023. These individuals

  and others with similar, actual knowledge of their rights have no cognizable claim.

  Chianne D. knew the basis of DCF’s termination of her benefits and availed herself

  of the opportunity to contest DCF’s determination through the fair-hearing pro-

  cess. Ms. Mezquita requested a fair hearing, and her benefits were later restored as

  a result of subsequent communications with DCF. A.V.’s mother knew that a fair

  hearing was available, but simply wanted to litigate this class action instead. These

  individuals’ due-process claims—and those of all similar class members—must fail.

  Once again, highly individualized circumstances that vary from one recipient to the

  next preclude a finding that DCF’s notices violate due process on a classwide basis.


                                           12
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 13 of 30 PageID 3865




        Plaintiffs cannot show whether class members had knowledge of their rights

  or exercised appropriate diligence. Just as classwide relief cannot be based on the

  subjective confusion, it cannot issue in favor of those who have actual knowledge of

  their rights or failed to make diligent inquiry.

        d.     Recipients are charged with knowledge of the law and other publicly
               available sources of information.

        Since the public at large is presumed to know the law, Atkins v. Parker, 472

  U.S. 115, 130 (1985) (“All citizens are presumptively charged with knowledge of the

  law.”), due process does not require States to provide notice of the law. Medicaid

  recipients—including class members—are therefore charged with knowledge not

  only of DCF’s fair-hearing procedures, but also Medicaid eligibility requirements

  (including income standards) codified in state and federal statutes and regulations.

        In City of West Covina v. Perkins, 525 U.S. 234 (1999), the Court held that

  due process does not require States to provide notice of administrative procedures

  set forth in laws and other available sources. When remedies “are established by

  published, generally available statutes and case law,” due process is satisfied. Id. at

  241. The Court found that a person whose property had been seized was not enti-

  tled to personal notice of hearing rights: “Once the property owner is informed that

  his property has been seized, he can turn to these public sources to learn about the

  remedial procedures available to him. The [State] need not take other steps to in-

  form him of his options.” Id. at 241.2 And in Arrington, the Eleventh Circuit found


        2 Memphis Light, Gas, and Water Division v. Craft, 436 U.S. 1 (1978), is in-

  apposite for the reasons explained in West Covina and Arrington. In Memphis

                                            13
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 14 of 30 PageID 3866




  due process did not require personal notice of hearing rights where the State’s

  “statutes, regulations, and publicly available agency manuals provide custodial

  parents notice of their right to a hearing and the procedures for obtaining one.”

  438 F.3d at 1351–52; accord Reams v. Irvin, 561 F.3d 1258, 1265 (11th Cir. 2009).

        In addition to statutes, rules, regulations, and judicial precedent, the public

  is also charged with knowledge of information contained in published, generally

  available sources of information, such as “agency policy manuals.” Arrington, 438

  F.3d at 1353; see also Grayden v. Rhodes, 345 F.3d 1225, 1241–42 (11th Cir. 2003).

        Here, the published, generally available sources of information available to

  Plaintiffs and other class members include (in addition to federal law) the Florida

  Statutes, the Florida Administrative Code, DCF’s website and call center, and each

  recipient’s secure online MyACCESS accounts. Fair-hearing rights are set forth in

  detail in DCF’s rules, see Fla. Admin. Code r. 65-2.042–.066, 65A-1.204, and on its

  website and other sources. So are Medicaid eligibility requirements. See 42 U.S.C.

  § 1396a(a)(10); Fla. Stat. §§ 409.903–.904; Fla. Admin. Code r. 65A-1.701–.716.

  DCF’s ESS Program Policy Manual—an agency policy manual available on DCF’s

  website—provides extensive information about Medicaid eligibility rules and calcu-

  lations. Medicaid income limits can be found in sections 409.903 and 409.904 of

  the Florida Statutes and rules 65A-1.707, 65A-1.713, and 65A-1.716 of the Florida

  Administrative Code, as well as Appendix A-7 to the ESS Program Policy Manual.

  Light, hearing rights were not set forth in statutes and regulations, since publicly
  available documents did not describe the administrative procedures of the munici-
  pal utility at issue there. See Arrington, 438 F.4d at 1352 n.16.


                                           14
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 15 of 30 PageID 3867




        Florida does not violate due process by omitting from its notices information

  that is contained in state or federal law or in publicly available sources. See Atkins,

  472 U.S. at 130–31 (concluding that personal notice of statutory change to benefits

  was unnecessary because individuals are charged with knowledge of the law); Cole

  v. R.R. Ret. Bd., 289 F.2d 65, 68 (8th Cir. 1961) (concluding, for the same reason,

  that personal notice of statutory expansion of eligibility requirements was unnec-

  essary). To the extent the information that Plaintiffs claim was omitted from DCF’s

  notices is available through these alternative sources, due process does not compel

  their inclusion in written notices.

  IV.   DCF’s Notices Comply with the Medicaid Act Regulations.

        a.     The Medicaid Act provision that Plaintiffs sue to enforce, 42
               U.S.C. § 1396a(a)(3), is not enforceable under section 1983.

        42 U.S.C. § 1396a(a)(3) does not confer enforceable rights, and certainly not

  the specific rights that Plaintiffs claim.

        Only statutes that confer federal rights are enforceable under section 1983.

  Bowles v. DeSantis, 934 F.3d 1230, 1239 (11th Cir. 2019). To determine whether a

  statute confers a federal right, courts first “identify exactly what rights, considered

  in their most concrete, specific form, plaintiff is asserting.” Id. (quoting Burban v.

  City of Neptune Beach, 920 F.3d 1274, 1278 (11th Cir. 2019)) (emphasis supplied).

        Once it identifies the precise right that the plaintiff asserts, courts determine

  whether Congress “intended that the provision in question benefit the plaintiff.” Id.

  (quoting Blessing v. Freestone, 520 U.S. 329, 340 (2018)). The rules that govern

  this inquiry are identical to those that determine whether Congress has conferred

                                               15
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 16 of 30 PageID 3868




  an implied private right of action. Gonzaga Univ. v. Doe, 536 U.S. 273, 285–86

  (2002).

        Viewed in their most concrete, specific form, the right that Plaintiffs claim is

  a right to written notice of specific items of information, such as the amount of in-

  come that DCF used to determine their eligibility and the income limits that DCF

  applied. In enacting 42 U.S.C. § 1396a(a)(3), Congress did not unambiguously cre-

  ate these rights. The statute does not mention these rights or even mention notice.

        The statute, moreover, does not contain the rights-creating language needed

  to confer a federal right. 42 U.S.C. § 1396a(a) lists 86 items that a State’s Medicaid

  State Plan must contain. 42 U.S.C. § 1396a(b) then directs the Secretary of Health

  and Human Services to approve Medicaid State Plans that fulfill the conditions

  specified in subsection (a). Next, Congress granted the Secretary express authority

  to enforce compliance with 42 U.S.C. § 1396a and with the Medicaid State Plans

  the Secretary has approved. See 42 U.S.C. § 1396c; 42 C.F.R. § 430.35. Rather than

  confer enforceable federal rights on Plaintiffs, the statute is phrased as a directive

  to the Secretary of Health and Human Services. See California v. Sierra Club, 451

  U.S. 287, 294 (1981) (“The question is not simply who would benefit from the Act,

  but whether Congress intended to confer federal rights upon those beneficiaries.”).

        Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320, 331–32 (2015),

  is an instructive analogy. There, Medicaid providers claimed that Congress granted

  them a private right of action to enforce 42 U.S.C. § 1396a(a)(30), which requires

  Medicaid State Plans to establish procedures for determining minimum provider


                                           16
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 17 of 30 PageID 3869




  reimbursement rates. The Court disagreed for two reasons. First, citing 42 U.S.C.

  § 1396a(b), it explained that the statute is “phrased as a directive to the federal

  agency charged with approving state Medicaid plans, not as a conferral of the right

  to sue upon the beneficiaries of the State’s decision to participate in Medicaid.” Id.

  at 331. Second, it explained that Congress “explicitly conferred means of enforcing

  compliance” on the Secretary, which “suggests that other means of enforcement

  are precluded.” Id. at 331–32; see also Planned Parenthood of Greater Texas Fam.

  Plan. & Prev. Health Servs., Inc. v. Kauffman, 981 F.3d 347, 359–60 (5th Cir.

  2020) (en banc) (holding that 42 U.S.C. § 1396a(a)(23) is not privately enforceable).

        The same rationale applies here. Like the provision at issue in Armstrong,

  the provision that Plaintiffs seek to enforce is part of a framework that establishes

  conditions for the Secretary’s review of Medicaid State Plans. Both provisions are

  directives to the Secretary and are enforceable by the Secretary. Accordingly, the

  statute that Plaintiffs invoke does not confer rights enforceable under section 1983.

        b.     The Medicaid regulations Plaintiffs sue to enforce are not ac-
               tionable under section 1983.

        Even if 42 U.S.C. § 1396a(a)(3) is privately enforceable under section 1983,

  the regulations on which Plaintiffs rely to support their Medicaid Act claim are not.

  42 C.F.R. §§ 431.206 and 431.210 impose new and distinct obligations not found in

  the Medicaid Act, which merely requires States to grant “an opportunity for a fair

  hearing before the State agency” that terminated the claim for benefits. 42 U.S.C.

  § 1396a(a)(3).




                                           17
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 18 of 30 PageID 3870




        Agency regulations are not automatically actionable under section 1983, but

  only when the regulation “merely fleshes out the content” of a right conferred by

  statute. Kissimmee River Valley Sportsman Ass’n v. City of Lakeland, 250 F.3d

  1324, 1326–27 (11th Cir. 2001). A regulation that “imposes new and distinct obliga-

  tions not found in the statute itself . . . is too far removed from the Congressional

  intent to constitute a federal right enforceable under § 1983.” Id. (internal marks

  omitted).

        The Eleventh Circuit interprets this rule strictly. Congressional intent is the

  polestar: to find a regulation privately enforceable, “courts must find that Congress

  has unambiguously conferred federal rights on the plaintiff.” Harris v. James, 127

  F.3d 993, 1010 (11th Cir. 1997) (emphasis in original). When a statute does not dic-

  tate the “substance” of a written notice, for example, but merely requires that a de-

  cision be in writing, a regulation that dictates the substance of the written decision

  is not actionable under section 1983. Yarborough v. Decatur Hous. Auth., 931 F.3d

  1322, 1325–27 (11th Cir. 2019) (en banc). Similarly, while Congress required States

  to provide Medicaid services with reasonable promptness, a CMS regulation that

  required States to provide transportation to recipients who could not otherwise ac-

  cess services was not enforceable under section 1983. Harris, 127 F.3d at 1010–12.

  The court explained that “transportation may be a reasonable means of ensuring”

  that services are provided promptly, and that this nexus might sustain the validity

  of the regulation, but it did not “support a conclusion that Congress has unambig-

  uously conferred upon Medicaid recipients a federal right to transportation.” Id. at


                                           18
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 19 of 30 PageID 3871




  1012.

          Here, the Medicaid Act does not explicitly require written notice, much less

  specify discrete items of information that must be set forth in a notice. In enacting

  the Medicaid Act, Congress did not unambiguously confer a federal right to written

  notice of the amount of income that DCF attributed to the recipient, or the income

  limit that DCF applied to the recipient, or the Medicaid eligibility category to which

  the recipient belonged before termination. A right to personal, written notice is not

  necessarily implied in the opportunity for a hearing that 42 U.S.C. § 1396a(a)(3)

  secures. See City of West Covina, 525 U.S. at 241 (concluding that due process

  does not require personal, written notice of the right to an administrative hearing).

  Indeed, even CMS did not unambiguously confer a right to personal, written notice

  of the elements of information that Plaintiffs claim DCF’s notices must include. At

  most, Plaintiffs infer a right to that information from the regulation that mandates

  disclosure of the “specific reasons” for the intended action. 42 C.F.R. § 431.210(b).

          Congress did not unambiguously confer rights that neither the Medicaid Act

  nor its regulations mention, and that Plaintiffs only glean from the regulations by

  stacking inference upon inference: first inferring a right to notice from the statute,

  and then inferring a right to specific items of information from CMS’s regulations.

          As in Harris and Yarborough, the Medicaid Act says nothing about notices,

  let alone the content of notices. 42 U.S.C. § 1396a(a)(3) requires States to “provide

  for granting an opportunity for a fair hearing before the State agency to any indi-

  vidual whose claim for medical assistance under the plan is denied.” No federal


                                           19
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 20 of 30 PageID 3872




  statute requires States to issue notices containing the specific items of information.

  These are distinct obligations—not rights “unambiguously conferred” by Congress.

         The regulations on which Plaintiffs rely are too far removed from congres-

  sional intent to constitute an enforceable federal right. A contrary finding would

  mean that DCF has complied with Congress’s mandate by apprising recipients of

  their right to a fair hearing, but is exposed to liability for not checking boxes found

  nowhere in the statute. See Yarborough, 931 F.3d at 1326 (“Ms. Yarborough’s case

  was not a challenge to the Authority’s failure to provide a written decision. . . .

  [T]he hearing officer violated the regulation but not the statute. Her case fails as a

  result.”). Like the Eleventh Circuit in Harris and Yarborough, this Court should

  reject that result.

         c.     The Medicaid regulations require DCF to state the reason for
                termination but not the individualized facts that support that
                determination.

         Medicaid regulations require States that terminate a recipient’s eligibility to

  disclose the “action the agency . . . intends to take” and provide a “clear statement

  of the specific reasons supporting the intended action.” 42 C.F.R. § 431.201(a)–(b).

  For example, the “specific reason” for a recipient’s termination might be that the

  individual’s income exceeded applicable limits. The regulation does not, however,

  require DCF to recite individualized facts that support its termination decision or

  to provide an explanation of how DCF applied eligibility standards to those facts.

  CMS could have written a regulation that requires these disclosures—but it did not.

         DCF’s notices comply with the regulation. When it terminates a recipient’s


                                            20
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 21 of 30 PageID 3873




  Medicaid coverage because of the recipient’s income, DCF enrolls the recipient in

  the Medically Needy Program. See Fla. Stat. § 409.904(2). The notices that alert

  recipients to their Medicaid termination and enrollment in the Medically Needy

  program inform recipients of the following:

        We have reviewed your eligibility for full Medicaid benefits and have
        determined you are not eligible because your income exceeds the limit
        for Medicaid.

  In addition, in explaining the Medically Needy Program, the notice says:

        Individuals enrolled in the Medically Needy Program have income or
        assets that exceed the limits for regular Medicaid.3

  These statements explain why the recipient was terminated from Medicaid and en-

  rolled in the Medically Needy Program instead.

        Nothing in the plain language of the Medicaid regulations requires States to

  inform recipients of the individualized facts that the State relied on in reaching its

  decision, in addition to the reason behind its decision. Thus, in Adams, the court

  held that a regulation requiring notice of the “specific reasons” that support a find-

  ing of non-disability did not require the Social Security Administration to disclose

  case-specific facts. 643 F.2d at 999. DCF’s notices satisfy the regulatory require-

  ment by identifying excess income as the reason supporting Medicaid termination.

        The distinction between the reason for an action and the facts that support

  that action is found in other areas of the law as well. CMS’s own regulations make


        3 DCF’s “Medically Needy Brochure,” which is available on DCF’s website,

  also informs the public that the Medically Needy Program serves those who would
  otherwise qualify for Medicaid, but for their income.


                                           21
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 22 of 30 PageID 3874




  that distinction in the context of certain Medicare provider appeals. See 42 C.F.R.

  § 405.1836(d) (“The notice must include a detailed explanation of the reasons for

  the decision . . . and the facts underlying the decision.” (emphasis added)). Federal

  Rule of Civil Procedure 26(a)(2)(B) likewise requires parties to disclose an expert’s

  opinions and the “reasons for them”—in addition to “the facts or data considered

  by the witness.” The rule thus treats the reasons for an expert’s opinions as distinct

  from the facts considered in forming the expert’s opinion—just as DCF’s action and

  reason for the action are distinct from the facts that DCF considered in making its

  decision.

        Nor do the regulations require States to disclose all eligibility requirements

  in their termination notices. The regulations’ omission of eligibility requirements

  from the items of information that notices must contain makes sense because, as

  discussed above, Medicaid recipients are charged with knowledge of federal and

  state law. Medicaid eligibility requirements appear in federal and state law. See 42

  U.S.C. § 1396a(a)(10); Fla. Stat. §§ 409.903–.904; Fla. Admin. Code r. 65A-1.701–

  .716. Moreover, a separate federal regulation requires States to disclose Medicaid

  eligibility requirements only upon request. 42 C.F.R § 435.905(a)(1). Clearly, CMS

  knows how to direct States to disclose Medicaid eligibility requirements—and it did

  not do so here. Its omission from one regulation of a requirement that appears in

  another regulation is presumed to be intentional. Yonek v. Shinseki, 722 F.3d 1355,

  1359 (Fed. Cir. 2013) (“Where an agency includes particular language in one sec-

  tion of a regulation but omits it in another, it is generally presumed that the agency


                                           22
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 23 of 30 PageID 3875




  acts intentionally and purposely in the disparate inclusion or exclusion.” (internal

  marks omitted)); accord Newman v. FERC, 27 F.4th 690, 698 (D.C. Cir. 2022).

        Similarly, it makes little sense to require States to disclose in their Medicaid

  termination notices the eligibility categories for which a Medicaid recipient was

  evaluated. Federal law requires States to evaluate every individual for every eligi-

  bility category. See 42 C.F.R. § 435.916(f)(1) (“Prior to making a determination of

  ineligibility, the agency must consider all bases of eligibility . . . .”). A standard

  statement in each notice that DCF considered all bases of eligibility is not required

  by the regulations and does not provide essential, useful information to recipients.

        Requiring termination notices to include eligibility requirements would also

  exponentially increase the length of the notices—which Plaintiffs already criticize

  for their length—and would merely reiterate the contents of publicly available laws

  and regulations. Plaintiffs cannot show how it is possible to provide a complete

  and accurate summary of all Medicaid eligibility categories and requirements with-

  in the confines of a single notice. Generalizations about eligibility requirements,

  like those Plaintiffs previously offered, see ECF No. 69 at 7 (suggesting in a sample

  notice that all children and all seniors are eligible for Medicaid), will be misleading.

  Federal regulations do not obligate DCF to provide overly simplified statements of

  eligibility categories and requirements in their notices, or to provide notices long

  enough to accurately delineate all Medicaid eligibility categories and requirements.

        It is not enough for Plaintiffs to demonstrate at trial that DCF’s notices could

  be improved, or that additional information might be useful to recipients. Plaintiffs


                                            23
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 24 of 30 PageID 3876




  cannot show that the Medicaid Act regulations they sued to enforce require States

  to include more than what they already include: a statement that benefits will end,

  the reason why, and an avenue to pursue an administrative appeal of that decision.

        e.     DCF’s Fair-Hearing Language and Hearing Procedures Exceed
               Legal Requirements.

        DCF’s notices plainly advise recipients of their right to a fair hearing. Before

  October 2023, the termination notices contained the following standard language:

        Fair Hearings: If you disagree with the decision we have made, you
        have the right to ask for a hearing before a state hearings officer. You
        may be represented at the hearing by a lawyer, relative, friend, or an-
        yone you choose. If you want a hearing you must ask for the hearing
        you must ask for the hearing by writing, calling the call center or com-
        ing into an office within 90 days from the date at the top of this notice.
        If you ask for a hearing before the effective date of this notice, your
        benefits may continue at the prior level until the hearing decision. You
        will be responsible to repay any benefits if the hearing decision is not
        in your favor.

  This language advised recipients of their right to a hearing, methods for requesting

  a hearing, the deadline to request a hearing, and the uninterrupted continuance of

  benefits pending a hearing if the request is made before the action’s effective date.

  The fair-hearing language is followed by a phone number for the DCF call center, a

  link to information about free legal services, and links to two DCF websites to find

  additional information. The text immediately preceding the fair-hearing language

  directs recipients to their secure online accounts and provides a call-center phone

  number. The header on the first page of the notice identifies DCF’s post office box,

  which receives and processes fair-hearing requests, and the notice further provides

  a link to DCF’s office locations, where fair-hearing requests can be made in person.



                                           24
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 25 of 30 PageID 3877




        In October 2023, DCF changed the word “will” to “may” in the last sentence

  of the fair-hearing language, so that it reads as follows: “You may be responsible to

  repay any benefits if the hearing decision is not in your favor.” (emphasis added).

        In April 2024, DCF again revised the fair-hearing language to include even

  more information. The revision added an email address and web address at which

  recipients can submit hearing requests, the mailing address of the Appeal Hearings

  Section (in addition to the post office box on the first page), an explanation of DCF

  policy regarding the repayment of benefits if the recipient does not prevail, and

  bolding and underlining to make the purpose of the paragraph unmistakably clear:

        Fair Hearings: If you disagree with our decision, you have the
        right to ask for a hearing before a state hearing officer. You may be
        represented at the hearing by a lawyer, relative, friend, or anyone you
        choose. If you want a hearing, you must ask for the hearing within 90
        days from the date at the top of this notice. You may ask for a hearing
        by emailing us at appeal.hearings@myflfamilies.com; by making a
        request online at https://www.myflfamilies.com/fairhearings; by
        writing to us at Appeal Hearings Section, 2415 North Monroe Street,
        Suite 400-I, Tallahassee, Florida 32303-4190; by calling the call
        center; or by coming into a DCF office. If you ask for a hearing before
        the date your benefits are scheduled to end or change, your Medicaid
        benefits will continue at the prior level until the hearing decision. You
        may be responsible to pay any benefits if the hearing decision is not in
        your favor. For Medicaid, you will not be responsible to repay benefits
        unless we find that you engaged in fraud or an intentional program
        violation. Your appeal will be decided within 90 days of your request.
        For Medicaid, if you have an urgent health care need (one that would
        result in serious harm to your health if not treated soon), you can ask
        for a faster appeal. Proof of your urgent health care need may be
        requested.

        From day one, DCF’s fair-hearing language has clearly informed recipients

  of their entitlement to a hearing to contest DCF’s decision and of multiple, easy




                                           25
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 26 of 30 PageID 3878




  means by which recipients can request fair hearings. Thousands of recipients have

  taken advantage of the fair-hearing process, including two who will testify at trial.

  DCF’s recent additions to the fair-hearing language provide even more information

  and only confirm the notice’s compliance with the regulations on which Plaintiffs

  rely.

  V.      Plaintiffs and Many Class Members Lack Standing.

          d.    Chianne D. and C.D. do not have justiciable claims.

          C.D. lacks standing, and Chianne’s claim is moot, because neither C.D. nor

  Chianne is a Medicaid recipient or claims to be eligible for Medicaid. Any threat of

  injury they claim to face from Medicaid notices is consequently purely hypothetical

  and speculative and is not a cognizable, redressable injury. Lujan v. Defs. of Wild-

  life, 504 U.S. 555, 560–61 (1992).4 Chianne, moreover, requested a fair hearing but

  then withdrew her request; any injury that she and C.D. suffered is traceable not to

  DCF, but to Chianne’s voluntary decision to forego the fair hearing she requested.5


          4 Alleged injuries such as “stress and anxiety” do not establish Plaintiffs’

  standing here. See ECF No. 122 at 18, 34. Under Article III, only the “invasion of a
  legally protected interest”—not any harm—confers standing. Lujan v. Defs. of
  Wildlife, 504 U.S. 555, 560 (1992). “No legally cognizable injury arises unless an
  interest is protected by statute or otherwise.” Cox Cable Commc’ns, Inc. v. United
  States, 992 F.2d 1178, 1182 (11th Cir. 1993); accord Bochese v. Town of Ponce In-
  let, 405 F.3d 964, 980 (11th Cir. 2005). “The interest must consist of obtaining
  compensation for, or preventing, the violation of a legally protected right.” Vt.
  Agency of Nat. Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 772 (2000). Freedom
  from stress and anxiety is not the interest that due process and the Medicaid Act
  protect.
          5 Resolving the standing of the named Plaintiffs is necessary here because of

  the nature of the relief sought. Plaintiffs seek person-specific relief, such as correc-
  tive notices and their reinstatement to Medicaid coverage. See ECF No. 69 at 2–6.

                                            26
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 27 of 30 PageID 3879




        e.     Class members lack standing.

        Before it may grant relief to members of a class or subclass certified under

  Rule 23(b)(2), a court must determine which class or subclass members suffered

  injury and have standing to seek relief. See Cordoba v. DIRECTV, LLC, 942 F.3d

  1259, 1274 (11th Cir. 2019) (applying Article III principles to a Rule 23(b)(3) class).

  Plaintiffs cannot establish which class and subclass members were injured (and are

  therefore entitled to prospective relief) and which had actual knowledge or access

  to alternative sources of information, such as the call center and state offices. The

  omission of particular items of information from the challenged notices might have

  made no difference to many class members, who would have derived no benefit

  from the addition of that information. Absent some injury resulting from the omis-

  sion of information from their notices, class members suffered a bare procedural

  violation, which is insufficient to confer Article III standing. Spokeo, Inc. v. Rob-

  ins, 578 U.S. 330, 341–42 (2016); see also Doe v. Univ. of Mich, 78 F.4th 929, 944

  (6th Cir. 2023) (“The deprivation of process alone, without some concrete harm

  flowing from that deprivation, cannot constitute an injury that conveys standing.”).

        Class members who have no basis to contest DCF’s decision lack standing to

  challenge the sufficiency of DCF’s termination notices. See Rector v. City & Cnty.

  of Denver, 348 F.3d 935, 943–44 (10th Cir. 2003). The Eleventh Circuit recently

  Plaintiffs do not seek only indivisible relief—such as the removal of a monument,
  see Glassroth v. Moore, 335 F.3d 1282, 1293 (11th Cir. 2003)—that would be the
  same no matter how many plaintiffs have standing. Because Plaintiffs seek person-
  specific relief, this Court should assess whether each named Plaintiffs has standing
  to seek that relief.


                                            27
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 28 of 30 PageID 3880




  affirmed that, to establish standing to seek relief from the violation of a procedural

  right, a litigant must prove that “there is some possibility that the requested relief

  will prompt the injury-causing party to reconsider the decision that allegedly

  harmed the litigant.” Ctr. for a Sustainable Coast v. U.S. Army Corps of Eng’rs, ---

  F.4th ----, No. 22-11079, 2024 WL 1918733, at *4 (11th Cir. May 2, 2024) (quoting

  Cahaba Riverkeeper v. EPA, 938 F.3d 1157, 1162 (11th Cir. 2019)) (emphasis in

  Center for a Sustainable Coast). A recipient who asserts no grounds to challenge

  DCF’s eligibility determination was not harmed by the allegedly insufficient notice.

  VI.   Plaintiffs Seek Overly Broad Injunctive Relief.

        At trial, Defendants will offer evidence relevant to the appropriate scope and

  character of any prospective injunctive relief.6 This evidence will address the costs,

  burdens, and feasibility of the changes that Plaintiffs seek, including the compati-

  bility of those changes with the technical limitations of the ACCESS Florida System

  and the ongoing ACCESS Modernization Project and the cost of reinstating Medi-

  caid coverage for hundreds of thousands of people who have been found ineligible.

        Several legal principles bear on the appropriate scope of injunctive relief as

  well. First, the Court should first confirm that Plaintiffs have satisfied each of the

  four injunction factors. In addition to establishing success on the merits, Plaintiffs

  must show that (1) class or subclass members will suffer irreparable injury unless a


        6 To the extent Plaintiffs seek retrospective relief, such as relief from medical

  expenses incurred while ineligible for Medicaid, Defendants object that Plaintiffs
  requested only prospective relief in their complaint, and retrospective relief would
  offend the Eleventh Amendment. See Edelman v. Jordan, 415 U.S. 651, 677 (1974).


                                           28
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 29 of 30 PageID 3881




  classwide injunction issues; (2) any threatened injury to class or subclass members

  outweighs any damage the proposed classwide injunction may cause Defendants;

  and (3) the proposed classwide injunction would not be adverse to the public

  interest. KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1268 (11th Cir.

  2006). The public, of course, has a significant interest in the efficient allocation of

  the government’s fiscal resources and in minimizing unnecessary cost. Hernandez

  v. Sessions, 872 F.3d 976, 996 (9th Cir. 2017); Baker Elec. Co-op., Inc. v. Chaske,

  28 F.3d 1466, 1474 (8th Cir. 1994). And once a State elects to participate in Medi-

  caid, it must comply with all federal statutory and regulatory requirements. ECF

  No. 122 at 3. This means that, except to the extent federal law permits a State to

  maintain or reinstate the Medicaid services of recipients who have been found inel-

  igible, see 42 C.F.R. §§ 431.230, 431.231, the State must enforce its eligibility re-

  quirements and may not provide Medicaid services to recipients who have been

  determined to be ineligible, see 42 U.S.C. § 1396c; 42 C.F.R. §§ 430.35, 435.930(b).

        This Court should also consider whether the requested relief—including the

  reinstatement of recipients who have been found ineligible—comports with princi-

  ples of comity and federalism. See Rizzo v. Goode, 423 U.S. 362, 379 (1976). Any

  injunction must be narrowly tailored to proven legal violations, restrain no more

  conduct than is reasonably necessary, and intrude into state affairs no more than is

  absolutely necessary. Fin. Info. Techs., LLC v. iControl Sys., USA, LLC, 21 F4th

  1267, 1280 (11th Cir. 2021); Morrow v. Harwell, 768 F.2d 619, 628 (5th Cir. 1985).

  An injunction against the State should represent the least intrusive, expensive, and


                                            29
Case 3:23-cv-00985-MMH-LLL Document 131 Filed 05/07/24 Page 30 of 30 PageID 3882




  burdensome means of redressing any proven violation. Morrow, 768 F.2d at 628.

        Finally, 42 C.F.R. § 431.231(c) prescribes the conditions of reinstatement of

  Medicaid benefits in cases of inadequate notice. The prospective reinstatement of

  Medicaid recipients who were terminated because of their income would be incon-

  sistent with this regulation, which permits reinstatement only after the recipient

  requests a fair hearing and only if the termination “resulted from other than the

  application of Federal or State law or policy.” An injunction that orders prospective

  reinstatement of class or subclass members here, including ineligible individuals,

  to remedy an allegedly inadequate notice would be inconsistent with the specific

  regulation that governs the reinstatement of benefits and is therefore unwarranted.

       Dated May 7, 2024.                  Respectfully submitted,




                                           /s/ Andy Bardos
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                                           30
